     Case 15-25355               Doc 12    Filed 11/10/15 Entered 11/12/15 23:40:18     Desc Imaged
                                          Certificate of Notice Page 1 of 4
B18 (Official Form 18) (12/07)

                                     United States Bankruptcy Court
                                             Northern District of Illinois
                                                  Case No. 15−25355
                                                      Chapter 7

In re: Debtor (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade,
and address):
   John Stacho
   2124 Norfolk
   Westchester, IL 60154
Social Security / Individual Taxpayer ID No.:
   xxx−xx−5552
Employer Tax ID / Other nos.:



                                            DISCHARGE OF DEBTOR

      It appearing that the debtor is entitled to a discharge, IT IS ORDERED: The debtor is
granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).




                                                           FOR THE COURT


Dated: November 10, 2015                                   Jeffrey P. Allsteadt, Clerk
                                                           United States Bankruptcy Court




                     SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
     Case 15-25355            Doc 12      Filed 11/10/15 Entered 11/12/15 23:40:18                  Desc Imaged
                                         Certificate of Notice Page 2 of 4
B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor.[In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
      2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
          Case 15-25355            Doc 12       Filed 11/10/15 Entered 11/12/15 23:40:18                         Desc Imaged
                                               Certificate of Notice Page 3 of 4
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 15-25355-DRC
John Stacho                                                                                                Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: admin                        Page 1 of 2                          Date Rcvd: Nov 10, 2015
                                      Form ID: b18                       Total Noticed: 25


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 12, 2015.
db             +John Stacho,    2124 Norfolk,    Westchester, IL 60154-4436
23528644       +Bank Financial,    48 Orland Square Drive,    Orland Park, IL 60462-6539
23528645       +Citi Corp,    Citicorp/Centralized Bankruptcy,    Po Box 790040,    Saint Louis, MO 63179-0040
23528646       +Citibank,    Citicorp Credit Srvs/Centralized Bankrup,    Po Box 790040,
                 Saint Louis, MO 63179-0040
23528647        Citicorp Credit Services,     ATTN: Internal Recovery; Centralized Bk,    P.O. Box 790034,
                 Saint Louis, MO 63179-0034
23528648       +Codilis & Associates,    15W030 N. Frontage Road,    Burr Ridge, IL 60527-6921
23528653       +Dana Cortez,    2118 Louis Drive,    Schererville, IN 46375-1509
23528656        Equifax Information Services, LLC,     1550 Peachtree Street NW,    Atlanta, GA 30309
23528657       +Experian Information Solutions, Inc.,     475 Anton Boulevard,    Costa Mesa, CA 92626-7037
23528659       +Ocwen Loan Servicing,    12650 Ingenuity Drive,    Orlando, FL 32826-2703
23528660       +PNC Bank N.A,    1 Financial Parkway,    Kalamazoo, MI 49009-8002
23528661        Trans Union LLC,    P.O. Box 2000,    Chester, PA 19016-2000
23528662      ++WELLS FARGO BANK NA,    WELLS FARGO HOME MORTGAGE AMERICAS SERVICING,
                 ATTN BANKRUPTCY DEPT MAC X7801-014,     3476 STATEVIEW BLVD,    FORT MILL SC 29715-7203
               (address filed with court: Wells Fargo Home Mortgage,      8480 Stagecoach Circle,
                 Frederick, MD 21701)

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: BECRANE.COM Nov 11 2015 01:18:00      Eugene Crane,    Crane Heyman Simon Welch & Clar,
                 135 S Lasalle Ste 3705,    Chicago, IL 60603-4101
23528640       +EDI: GMACFS.COM Nov 11 2015 01:18:00      Ally Financial,    Attn: Bankruptcy,    Po Box 130424,
                 Roseville, MN 55113-0004
23528642        EDI: GMACFS.COM Nov 11 2015 01:18:00      Ally Financial,    PO Box 9001951,
                 Louisville, KY 40290-1951
23528643       +EDI: GMACFS.COM Nov 11 2015 01:18:00      Ally Financial,    PO Box 380901,
                 Minneapolis, MN 55438-0901
23528641       +EDI: GMACFS.COM Nov 11 2015 01:18:00      Ally Financial,    200 Renaissance Center,
                 Detroit, MI 48243-1300
23528651       +EDI: RCSFNBMARIN.COM Nov 11 2015 01:18:00      Credit One Bank,    585 Pilot Rd,
                 Las Vegas, NV 89119-3619
23528652       +EDI: RCSFNBMARIN.COM Nov 11 2015 01:18:00      Credit One Bank,    PO Box 740237,
                 Atlanta, GA 30374-0237
23528650       +EDI: RCSFNBMARIN.COM Nov 11 2015 01:18:00      Credit One Bank,    P.O Box 98872,
                 Las Vegas, NV 89193-8872
23528649       +EDI: RCSFNBMARIN.COM Nov 11 2015 01:18:00      Credit One Bank,    Po Box 98873,
                 Las Vegas, NV 89193-8873
23528654        EDI: DISCOVER.COM Nov 11 2015 01:18:00      Discover Financial Services,     2500 Lake Cook Road,
                 Deerfield, IL 60015
23528655        EDI: DISCOVER.COM Nov 11 2015 01:18:00      Discover Financial Services LLC,     Po Box15316,
                 Wilmington, DE 19850
23528658       +E-mail/Text: bnc@nordstrom.com Nov 11 2015 01:37:27       Nordstrom FSB,
                 Attention: Bankruptcy Department,     Po Box 6566,   Englewood, CO 80155-6566
                                                                                               TOTAL: 12

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 12, 2015                                             Signature: /s/Joseph Speetjens
        Case 15-25355      Doc 12     Filed 11/10/15 Entered 11/12/15 23:40:18           Desc Imaged
                                     Certificate of Notice Page 4 of 4


District/off: 0752-1          User: admin                 Page 2 of 2                  Date Rcvd: Nov 10, 2015
                              Form ID: b18                Total Noticed: 25

_


                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 10, 2015 at the address(es) listed below:
              Charles L. Magerski   on behalf of Debtor John Stacho Cmagerski@sulaimanlaw.com,
               courtinfo@sulaimanlaw.com;bkycourtinfo@gmail.com;ECFNotice@sulaimanlaw.com;mbadwan@sulaimanlaw.co
               m;sulaiman.igotnotices@gmail.com;bkecf_sulaiman@bkexpress.info
              Eugene Crane    ecrane@craneheyman.com,
               il41@ecfcbis.com;jmunoz@craneheyman.com;dkobrynski@craneheyman.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
                                                                                            TOTAL: 3
